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Loan No. aaa
Unpaid Principal Balance: $185,144.57 MIN Number:
Original Loan Amount: $188,000.00

New Money: $91,904.11

 

Tax Parcel No.
New Loan Amount: $277,048.68

HOME AFFORDABLE MODIFICATION AGREEMENT

Borrower (“I”): CINDY ESTEP and RONALD ESTEP. Dated this__("_ day of 16 , 20? Ss
If more than one Borrower or Mortgagor is executing this document, each is referred to as "I." For
purposes of this document words signifying the singular (such as "I") shall include the plural (such as "we")
and vice versa where appropriate.
Lender or Servicer (“Lender”): NATIONSTAR MORTGAGE LLC, whose address is 8950 CYPRESS
WATERS BLVD, COPPELL, TX 75019
Cate of first lien mortgage, deed of trust, or security deed (“Mortgage”) and Note (“Note”):
Loan Number:
Property Address (‘Property’): 43 PINE BLUFF LN

ELKTON, MD 21921

"MERS" is Mortgage Electronic Registration Systems, Inc. MERS is a separate corporation that is acting
solely as nominee for Lender and Lender's successors and assigns. MERS is the mortgagee under the
Mortgage. MERS is organized and existing under the laws of Delaware, and has a mailing address and
telephone number of P.O. Box 2026, Flint, Ml 48501-2026, (888) 679-MERS. The MERS street address is
1901 E Voorhees Street, Suite C, Danville, IL 61834.

Legal Description:

Prior instrument reference: BookiLiber N/A, of the Official Records of County, MD.
If my representations and covenants in Section 1 continue to be true in all material respects, then this

   

MULTISTATE HOME AFFORDABLE MODIFICATION AGREEMENT - Single Family - Fannie Ma ac
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Home Affordable Modification Agreement (“Agreement”) will, as set forth in Section 3, amend and
supplement (1) the Mortgage on the Property, and (2) the Note secured by the Mortgage. The Mortgage
and Note together, as they may previously have been amended, are referred to as the “Loan Documents.”
Capitalized terms used in this Agreement and not defined have the meaning given to them in Loan
Documents.

{ understand that after | sign and return two copies of this Agreement to the Lender, the Lender will send
me a signed copy of this Agreement. This Agreement will not take effect unless the preconditions set
forth in Section 2 have been satisfied.

1. My Representations and Covenants. | certify, represent to Lender, covenant and agree:

A.

ram

| am experiencing a financial hardship, and as a result, (i) | am in default under the Loan
Documents or my default is imminent, and (ii) | do not have sufficient income or access to
sufficient liquid assets to make the monthly mortgage payments now or in the near future;

One of the borrowers signing this Agreement lives in the Property as a principal residence, and
the Property has not been condemned;

There has been no impermissible change in the ownership of the Property since | signed the Loan
Documents. A permissible change would be any transfer that the lender is required by law to
allow, such as a transfer to add or remove a family member, spouse or domestic partner of the
undersigned in the event of a death, divorce or marriage;

I have provided documentation for all income that | receive (and | understand that | am not
required to disclose child support or alimony unless ! chose to rely on such income when
requesting to qualify for the Home Affordable Modification Program (“Program’)).

Under penalty of perjury, all documents and information | have provided to Lender in connection
with this Agreement, including the documents and information regarding my eligibility for the
Program, are true and correct;

If Lender requires me to obtain credit counseling in connection with the Program, | will do so; and

| have made or will make all payments required under a trial period plan.

In the event that | was discharged in a Chapter 7 bankruptcy proceeding subsequent to the
execution of the loan documents and did not reaffirm the mortgage debt under applicable law,
Lender agrees that I will not have personal liability on the debt pursuant to this Agreement.

2. Acknowledgements and Preconditions to Modification. | understand and acknowledge that:

A.

If prior to the Modification Effective Date as set forth in Section 3 the Lender determines that any
of my representations in Section 1 are no longer true and correct or any covenant in Section 1 has
not been performed, the Loan Documents will not be modified and this Agreement will terminate.
In that event, the Lender will have all of the rights and remedies provided by the Loan Documents;
and

| understand that the Loan Documents will not be modified unless and until (i) the Lender accepts
this Agreement by signing and returning a copy of it to me, and (ii) the Modification Effective Date
(as defined in Section 3) has occurred. | further understand and agree that the Lender will not be
obligated or bound to make any modification of the Loan Documents if | fail to meet any one of the
requirements under this Agreement.

3. The Modification. If my representations and covenants in Section 1 continue to be true in all material
respects and all preconditions to the modification set forth in Section 2 have been met, the Loan
Documents will automatically become modified on Aprit 1, 2015 (the “Modification Effective Date”)
and all unpaid late charges that remain unpaid will be waived. | understand that if | have failed to
make any payments as a precondition to this modification under a trial period plan, this modification

 

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will not take effect. The first modified payment will be due on April 4, 2015.
A. The Maturity Date will be: March 1, 2055.

B. The modified principal balance of my Note will include all amounts and arrearages that will be past
due as of the Modification Effective Date (including unpaid and deferred interest, fees, escrow
advances and other costs, but excluding unpaid late charges, collectively, "Unpaid Amounts") less
any amounts paid to the Lender but not previously credited to my Loan. The new principal balance
of my Note will be $277,048.68 (the “New Principal Balance"). | understand that by agreeing to
add the Unpaid Amounts to the outstanding principal balance, the added Unpaid Amounts accrue
interest based on the interest rate in effect under this Agreement. | also understand that this
means interest will now accrue on the unpaid Interest that is added to the outstanding principal
balance, which would not happen without this Agreement.

C. $9,122.22 of the New Principal Balance shall be deferred (the "Deferred Principal Balance”) and |
will not pay interest or make monthly payments on this amount. The New Principal Balance less
the Deferred Principal Balance shall be referred to as the "Interest Bearing Principal Balance” and
this amount is $267,926.46. Interest at the rate of 2.000% will begin to accrue on the Interest
Bearing Principal Balance as of March 1, 2015 and the first new monthly payment on the Interest
Bearing Principal Balance will be due on April 1, 2015. My payment schedule for the modified
Loan is as follows:

 

 

 

 

 

. Monthly
Monthly Prin & Number of
Years Interest | Interest Rate Change int Payment Escrow Total Monthly Payment Begins On | Monthly
Rate Date Payment Payment
Amount Payments
Amount
$484.18 $1,295.53
1-5 2.000% March 01, 2015 $811.35 May adjust May adjust Apnil 01, 2015 60
periodically periodically
6 3.000% March 01, 2020 $942.60 May adjust | May adjust April 01, 2020 42
, ‘ ‘ periodically periodically ‘
May adjust May adjust .
7-40 3.625% March 01, 2021 $1,028.04 periodically periodically April 01, 2021 408

 

 

 

 

 

 

 

 

 

*The escrow payments may be adjusted periodically in accordance with applicable law and
therefore my total monthly payment may change accordingly.

The above terms in this Section 3.C. shall supersede any provisions to the contrary in the Loan
Documents, including but not limited to, provisions for an adjustable, step or simple interest rate.

1 understand that, if | have a pay option adjustable rate mortgage loan, upon modification, the
minimum monthly payment option, the interest-only or any other payment options will no longer be
offered and that the monthly payments described in the above payment schedule for my modified
Loan will be the minimum payment that will be due each month for the remaining term of the
Loan. My modified Loan will not have a negative amortization feature that would allow me to pay
less than the interest due resulting in any unpaid interest being added to the outstanding principal
balance.

D. | will be in default if | do not comply with the terms of the Loan Documents, as modified by this
Agreement.

E. If a default rate of interest is permitted under the Loan Documents, then in the event of default

   

  

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under the Loan Documents, as amended, the interest that will be due will be the rate set forth in
Section 3.C.

. | agree to pay in full the Deferred Principal Balance and any other amounts still owed under the

Loan Documents by the earliest of: (i) the date | sell or transfer an interest in the Property, (ii) the
date | pay the entire Interest Bearing Principal Balance, or (iii} the Maturity Date.

4. Additional Agreements. | agree to the following:
A.

    

MULTISTATE HOME AFFORDABLE MOCI

That all persons who signed the Loan Documents or their authorized representative(s) have
signed this Agreement, unless {i) a borrower or co-borrower is deceased; (ii) the borrower and
co-borrower are divorced and the property has been transferred to one spouse in the divorce
decree, the spouse who no longer has an interest in the property need not sign this Agreement
(although the non-signing spouse may continue to be held liable for the obligation under the Loan
Documents); or (iii) the Lender has waived this requirement in writing.

That this Agreement shall supersede the terms of any modification, forbearance, trial period plan
or other workout plan that | previously entered into with Lender.

To comply, except to the extent that they are modified by -his Agreement, with all covenants,
agreements, and requirements of Loan Documents including my agreement to make all payments
of taxes, insurance premiums, assessments, Escrow Items, impounds, and all other payments,
the amount of which may change periodically over the term of my Loan.

That this Agreement constitutes notice that the Lender's waiver as to payment of Escrow Items, if
any, has been revoked, and | have been advised of the amount needed to fully fund my escrow
account.

That the Loan Documents as modified by this Agreement are duly valid, binding agreements,
enforceable in accordance with their terms and are hereby reaffirmed.

That all terms and provisions of the Loan Documents, except as expressly modified by this
Agreement, remain in full force and effect; nothing in this Agreement shall be understood or
construed to be a satisfaction or release in whole or in part of the obligations contained in the
Loan Documents; and that except as otherwise specifically provided in, and as expressly modified
by, this Agreement, the Lender and | will be bound by, and will comply with, all of the terms and
conditions of the Loan Documents.

That, as of the Modification Effective Date, notwithstanding any other provision of the Loan
Documents, if all or any part of the Property or any interest in it is sold or transferred without
Lender's prior written consent, Lender may, at its option, require immediate payment in full of all
sums secured by the Mortgage. Lender shall not exercise this option if state or federal law, rules
or regulations prohibit the exercise of such option as of the date of such sale or transfer. If Lender
exercises this option, Lender shall give me notice of acceleration. The notice shall provide a
period of not less than 30 days from the date the notice is delivered or mailed within which | must
pay all sums secured by the Mortgage. If | fail to pay these sums prior to the expiration of this
period, Lender may invoke any remedies permitted by the Mortgage without further notice or
demand on me.

That, as of the Modification Effective Date, | understand that the Lender will only allow the transfer
and assumption of the Loan, including this Agreement, to a transferee of my property as permitted
under the Garn St. Germain Act, 12 U.S.C. Section 1701j-3. A buyer or transferee of the Property
will not be permitted, under any other circumstance, to assume the Loan. Except as noted herein,

  
  

— Single Family ~ Fannie MaefFreddie Mac

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this Agreement may not be assigned to, or assumed by, a buyer or transferee of the Property.

That, as of the Modification Effective Date, if any provision in the Note or in any addendum or
amendment to the Note allowed for the assessment of a penalty for full or partial prepayment of
the Note, such provision is null and void.

That, | will cooperate fully with Lender in obtaining any title endorsement(s), or similar title
insurance product(s), and/or subordination agreement(s) that are necessary or required by the
Lender’s procedures to ensure that the modified mortgage Loan is in first lien position and/or is
fully enforceable upon modification and that if, under any circumstance and not withstanding
anything else to the contrary in this Agreement, the Lender does not receive such title
endorsement(s), title insurance product(s) and/or subordination agreement(s), then the terms of
this Agreement will nat become effective on the Modification Effective Date and the Agreement
will be null and void.

That | will execute such other documents as may be reasonably necessary to either (i)
consummate the terms and conditions of this Agreement; or (ii) correct the terms and conditions
of this Agreement if an error is detected after execution of this Agreement. | understand that either
a corrected Agreement or a letter agreement containing the correction will be provided to me for
my signature. At Lender's option, this Agreement will be void and of no legal effect upon notice of
such error. If | elect not to sign any such corrective documentation, the terms of the original Loan
Documents shall continue in full force and effect, such terms will not be modified by this
Agreement, and | will not be eligible for a modification under the Home Affordable Modification
Program.

Mortgage Electronic Registration Systems, Inc. (“MERS”) is a separate corporation organized and
existing under the laws of Delaware and has a mailing address of P.O. Box 2026, Flint, Ml
48501-2026, a street address of 1901 E Voorhees Street, Suite C, Danville, IL 61834, and
telephone number of (888) 679-MERS. In cases where the loan has been registered with MERS
who has only legal title to the interests granted by the borrower in the mortgage and who is acting
solely as nominee for Lender and Lender's successors and assigns, MERS has the right: to
exercise any or all of those interests, including, but not limited to, the right to foreclose and sell the
Property; and to take any action required of Lender including, but not limited to, releasing and
canceling the mortgage loan.

. That Lender will collect and record personal information, including, but not limited to, my name,
address, telephone number, social security number, credit score, income, payment history,
government monitoring information, and information about account balances and activity. In
addition, | understand and consent to the disclosure of my personal information and the terms of
the trial period plan and this Agreement by Lender to (i) the U.S. Department of the Treasury, (ii)
Fannie Mae and Freddie Mac in connection with their responsibilities under the Home Affordability
and Stability Plan; (iii) any investor, insurer, guarantor or servicer that owns, insures, guarantees
or services my first lien or subordinate lien (if applicable) mortgage !oan(s); (iv) companies that
perform support services for the Home Affordable Modification Program and the Second Lien
Modification Program; and (v) any HUD certified housing counselor.

. That if any document related to the Loan Documents and/or this Agreement is lost, misplaced,
misstated, inaccurately reflects the true and correct terms and conditions of the Loan as modified,
or is otherwise missing, | will comply with the Lender's request to execute, acknowledge, initial
and deliver to the Lender any documentation the Lender deems necessary. If the Note is
replaced, the Lender hereby indemnifies me against any loss associated with a demand on the
Note. All documents the Lender requests of me under this Section 4.N. shall be referred to as

 

MULTISTATE HOME AFFORDABLE MODIFICATION AGREEMENT - Single Family — Fannie Mae/Freddie Mac UNIFORM INSTRUMENT
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"Documents." | agree to deliver the Documents within ten (10) days after | receive the Lender's
written request for such replacement.

©. That the mortgage insurance premiums on my Loan, if applicable, may increase as a reSult of the
capitalization which will result in a higher total monthly payment. Furthermore, the date on which |

may request cancellation of mortgage insurance may change as a result of the New Principal
Balance.

P. This Agreement modifies an obligation secured by an existing security instrument recorded in
County, MD, upon which all recordation taxes have been paid. As of the date of this agreement,
the unpaid principal balance of the original obligation secured by the existing security instrument
is $185,144.57. The principal balance secured by the existing security instrument as a result of
this Agreement is $277,048.68, which amount represents the excess of the unpaid principal
balance of this original obligation.

In Witness Whereof, the Lender and | have executed this Agreement.

Gundy Cap (Seal)
CINDY — -Borrower
MU Ab (Seal)

ten, ESTEP -Borrower
NATIONSTAR MORTGAGE LLC

<i OR (Seal) - Lender
Name: — tp. At tia
Title: Assistant socretet

3h4/1s

Date of Lender's Signature

 

 

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me
Mortgage Electrontc peypeney’ - Nominee for Lender
Title:

Assistant Secretary

eee Family - Fannie i ; a z

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Azra Habiblja |

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This Document Prepared By: Record and Return To:
NATIONSTAR MORTGAGE LLC NATIONSTAR MORTGAGE LLC
8950 CYPRESS WATERS BLVD 8950 CYPRESS WATERS BLVD
COPPELL, TX 75019 COPPELL, TX 75019

This is to certify that the within instrument was prepared by NATIONSTAR MORTGAGE LLC, one
of the parties named otbn
t y |

nesistant—S , r NATIONSTAR MORTGAGE LLC

    

ingle Family — Fannie Mae/

8206 01/14

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Borrower: CINDY ESTEP and RONALD ESTEP

AGREEMENT TO MAINTAIN ESCROW ACCOUNT

WHEREAS, CINDY ESTEP and RONALD ESTEP ("Borrower"} desires NATIONSTAR
MORTGAGE LLC ("Lender") to collect payments from Borrower to be held by Lender for the payment of
certain sums due in connection with Borrower's Note and Security Instrument, dated - - }
___, (hereinafter referred to as "Note” and "Security Instrument” respectively} currently held by Lender;

NOW THEREFORE, in consideration of the foregoing and the mutual covenants contained in this
Agreement (“Agreement”), Borrower agrees to pay Lender, on the day Periodic Payments are due under
the Note, until the Note is paid in full, or the Escrow Account is otherwise terminated pursuant to this |
Agreement or in accordance with applicable law, a sum (the “Funds”) to provide for payment of amounts
due for: (a) taxes and assessments and other items which can attain priority over the Security Instrument
as a lien or encumbrance on the Property; (b) leasehold payments or ground rents on the Property, if any;
(c) premiums for any and all insurance required by Lender under the Security Instrument; and (d)
Mortgage Insurance Premiums, if any, or any sums payable by Borrower to Lender in lieu of the payment
of Mortgage Insurance premiums. These items are called “Escrow Items.” In the event that Borrower
receives bills, assessments, invoices, or other requests for payment of Escrow Items, Borrower shall
promptly furnish to Lender all such notices.

Borrower shall pay Lender the Funds for Escrow Items unless this Agreement is terminated either
by Lender, or pursuant to applicable law. In the event of termination, Borrower shall pay directly, when
and where payable, the amounts due for any Escrow Items for which payment of Funds has been waived
by Lender and, if Lender requires, shall furnish to Lender receipts evidencing such payment within such
time period as Lender may require. In the event Borrower is obligated to pay Escrow Items directly, and
Borrower fails to pay the amount due for an Escrow Item, Lender may pay such amount in accordance
with the terms of the Note and Security Instrument and Borrower shail then be obligated to repay Lender
any such amount. Additionally, if Borrower is obligated to pay Escrow Items directly, and Borrower fails to
pay the amount due for an Escrow Item, Lender may, in accordance with applicable law, require Borrower
to maintain an Escrow Account.

Borrower agrees to make an initial payment of Funds to establish the escrow account, which
amount shall be based on an estimate of the amount and date of expenditures for future Escrow Items, or
otherwise in accordance with the Real Estate Settlement Procedures Act (“RESPA”). The estimate of
expenditures of future Escrow Items shall be made based on current data available to Lender. Borrower
acknowledges that the actual payments of Escrow Items may vary from the estimated amounts.

Lender will collect and hold Funds in an amount (a) sufficient to permit Lender to apply the Funds
at the time specified under RESPA, and (b) not to exceed the maximum amount a lender can require
under RESPA. Lender shall estimate the amount of Funds due on the basis of current data and
reasonable estimates of expenditures of future Escrow Items or otherwise in accordance with applicable
law.

The Funds shall be held in an institution whose deposits are insured by a federal agency,
instrumentality, or entity or in any Federal Home Loan Bank. Lender shall apply the Funds to pay the
Escrow Items no later than the time period specified under RESPA. Lender shall not charge Borrower for
holding and applying the Funds, annually analyzing the escrow account, or verifying the Escrow Items,
unjess Lender pays Borrower interest on the Funds and applicable law permits Lender to make such a
charge. Unless agreed to in writing or applicable law requires interest to be paid on the Funds, Lender
shall not be required to pay Borrower any interest or earnings on the Funds. Lender shall give to
Borrower, without charge, an annual accounting of the Funds as required by RESPA.

[f there is a surplus of Funds held in escrow, as defined under RESPA, Lender shall account to
Borrower for the excess funds in accordance with RESPA. If there is a shortage of Funds held in escrow,
as defined under RESPA, Lender shall notify Borrower as required by RESPA, and Borrower shall pay to
Lender the amount necessary to make up the shortage in accordance with RESPA. If there is a deficiency

    

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Borrower: CINDY ESTEP and RONALD ESTEP

of Funds held in escrow, as defined under RESPA, Lender shall notify Borrower as required by RESPA,
and Borrower shall pay to Lender the amount necessary to make up the deficiency in accordance with
RESPA, but in no more than 12 monthly payments.

Upon payment in full of all sums secured by this Security Instrument or termination of this
Agreement, Lender shall promptly refund to Borrower any Funds held by Lender.

BY SIGNING BELOW, Borrower accepts and agrees to the terms and covenants contained in this
Agreement to Maintain Escrow Account.

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, {
CAD 2-[bo- IS
Borrower - CINDY ESTEP Date

EMAC 2. Mbe/5

 

 

 

 

Bdrrower- RONALD ESTEP 4&7 Date
Borrower - Date
Borrower - . Date

   

   

AGREEMENT TO ESTABLISH ESCROW ACCOUNT 11/12 (Page 2 of 2}
